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    '                              UNITED ST ATES DISTRICT COURT
                                 WESTERN DISTRICT OF PENNSYLVANIA


         RONALD J. MIGYANKO, individually and                Case No. 2: 19-cv-00345-MRH
         on behalf of all others similarly situated,

                                    Plaintiff,

                               v.

         BED BATH & BEYOND, INC.,

                                Defendant.


                                           STIPULATION OF DISMISSAL

               Plaintiff Ronald J. Migyanko ("Plaintiff') and Defendant Bed Bath & Beyond

        ("Defendant"), by and through their undersigned counsel and pursuant to Fed. R. Civ. P.

        41(a)(l)(A)(ii) hereby stipulate that:

            1. This action shall be DISMISSED with prejudice as between Plaintiff and Defendant;

           2. No motion for class certification has been filed, and no class has been certified in this

               action. Therefore, class notice and court approval of this dismissal are not required under

               the Federal Rules; and

           3. Each party shall bear their own costs and fees, including attorneys' fees, incurred in

               connection with this action.
